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 Federal Court of Australia
 District Registry: New South Wales
 Division: General                                                                         No: NSD1533/2018

 QUINTIS LIMITED and others named in the schedule
 Plaintiffs

                                                       ORDER

 JUDGE:                                JUSTICE YATES

 DATE OF ORDER:                        04 September 2018

 WHERE MADE:                           Sydney

 THE COURT ORDERS THAT:

 1.         Pursuant to ss 411(1) and 1319 of the Corporations Act 2001 (Cth) (Act):
            (a)        the plaintiffs convene a meeting of the holders of the 8.75% Senior Secured
                       Notes issued pursuant to the terms of the Indenture by the first plaintiff on or
                       around 27 July 2016 (Scheme Creditors) for the purpose of considering and,
                       if thought fit, agreeing (with or without modification) to the scheme of
                       arrangement proposed to be made between the plaintiffs and the Scheme
                       Creditors (Scheme) being a scheme substantially in the form of that contained
                       Schedule 2 to the explanatory statement (Explanatory Statement) which
                       forms part of Exhibit SRF-1 as amended by Exhibit A and Exhibit B in the
                       proceeding (Scheme Meeting).
            (b)        the Scheme Meeting be held on Thursday 27 September 2018 at 10am at the
                       office of the solicitors for the plaintiffs, Allens, Level 28, 126 Phillip Street,
                       Sydney NSW 2000;
            (c)        Shaun Robert Fraser, or failing him, Jason Preston, be appointed chairman of
                       the Scheme Meeting;
            (d)        the chairman appointed to the Scheme Meeting have the power to adjourn the
                       Scheme Meeting in his absolute discretion for such time as to such date as he
                       considers appropriate;



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            (e)        the chairman may, at his absolute discretion, determine that only proxy forms
                       and proofs of debt in relation to the Scheme Meeting received by the chairman
                       by no later than 5pm on 25 September 2018, are valid;
            (f)        the chairman may rely on information provided to the plaintiffs as at 5pm on
                       20 September 2018 by the Bank of New York Mellon in its capacity as
                       Indenture Trustee for the purposes of admitting or rejecting a proof of debt for
                       the purpose of voting;
            (g)        the resolution to approve the Scheme at the Scheme Meeting be decided by
                       way of poll;
            (h)        the following documents, which together form the Scheme Meeting
                       Materials, are approved for distribution in the manner provided for in Order 2
                       of these orders:
                       (i)        the Explanatory Statement and notice of meeting in relation to the
                                  Scheme substantially in the form of Exhibit SRF-1 as amended by
                                  Exhibit A and Exhibit B in the proceeding;
                       (ii)       a voting proof of debt form and Proxy Form substantially in the form
                                  of the pro forma contained in Schedule 10 to the Explanatory
                                  Statement, which forms part of Exhibit SRF-1 in the proceeding
                                  (Voting and Proxy Form).
 2.         The plaintiffs dispatch to each Scheme Creditor an electronic copy of a document
            substantially in the form of the Scheme Meeting Materials by sending it to:
            (a)        all Scheme Creditors through the Depositary Trust Company as contemplated
                       by the Indenture by the first plaintiff on around 27 July 2016; and
            (b)        to those Secured Creditors in the manner that those creditors have requested in
                       the letter from Allens to the Receivers dated 31 August 2018.
 3.         The appointment of a person as a proxy must be by the instrument described as the
            Voting and Proxy Form which is contained in Schedule 10 to the Explanatory
            Statement in relation to the Scheme, which forms part of Exhibit SRF-1 to this
            proceedings.




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 4.         The application of Division 75 of the Insolvency Practice Rules (Corporations) 2016
            (IPR) to the Scheme Meeting pursuant to r 2.15 of the Federal Court (Corporations
            Rules) 2000 (Cth) (Rules) be modified in the following respects:
            (a)        Division 75 of the IPR shall not apply to the Scheme Meeting, with the
                       exception of the following rules in the IPR;
                       (i)        r 75-85(1);
                       (ii)       r 75-100(1), (2), (3);
                       (iii)      r 75-105(1)(b), (1)(c), (3);
                       (iv)       r 75-150(1),(2); and
                       (v)        r 75-155(1).
            (b)        Rule 75-85(2) shall apply to the Scheme Meeting as modified to read: "Subject
                       to subsection (3), each creditor is entitled to vote and has one vote".
            (c)        Rule 75-85(3) shall apply to the Scheme Meeting as modified to read: "A
                       person is not entitled to vote as a creditor at a meeting of creditors unless his
                       or her debt or claim has been admitted wholly or in part by the chairman of
                       the meeting and he or she has lodged with the chairperson of the meeting, a
                       formal proof of debt".
            (d)        Rule 75-100(4) shall apply to the Scheme Meeting as modified to read: "A
                       decision by the chairman to admit or reject a proof of debt or claim for the
                       purposes of voting may be appealed against to this Court by an application
                       filed with the Court within 48 hours of the decision, such appeal to be heard
                       concurrently with the second court hearing".
            (e)        Rule 75-105(4) shall apply to the Scheme Meeting as modified to read: "If
                       within 30 minutes after the time appointed for a meeting a quorum is not
                       present, or the meeting if not otherwise sufficiently constituted, the chairman
                       may adjourn the meeting in his absolute discretion for such time and to such
                       date as he considers appropriate".
            (f)        Rule 75-150(3) shall apply to the Scheme Meeting as modified to read: "A
                       person is not entitled to speak or vote as proxy at the meeting unless the
                       instrument of appointment (or a copy of that instrument of appointment) has



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                       been given to the person named in the notice convening the meeting as the
                       person who is to receive the instrument or with the chairman".
            (g)        Rule 75-155(2) shall apply to the Scheme Meeting as modified to read: "A
                       person claiming to be to the attorney of a person entitled to attend and vote at
                       a meeting is not entitled to speak or vote as attorney at the meeting unless: (a)
                       the instrument by which the person was appointed attorney has been produced
                       to the chairman; or (b) the chairman is otherwise satisfied that the person
                       claiming to be the attorney of the person entitled to vote is the duly authorised
                       attorney of that person".
 5.         Richard Tucker, Scott Langdon and Jennifer Nettleton are each authorised as a
            “
            “foreign representative”” of the plaintiffs for the purposes of making an application to
                     representative
            the United States Bankruptcy Court for recognition of the Scheme and ancillary relief
            under Chapter 15 of the United States Code, 11 U.S.C. §§ 101-1532.
 6.         The proceeding be adjourned to 10.15 am on 4 October 2018 before Justice Yates.
 7.         The plaintiffs have liberty to apply on two (2) days’ notice.



 Date that entry is stamped: 04 September 2018




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                                                               Schedule

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 Federal Court of Australia
 District Registry: New South Wales
 Division: General


 Second Plaintiff                      SANDALWOOD PROPERTIES LTD SUBJECT TO DEED OF
                                       COMPANY ARRANGEMENT RECEIVERS AND MANAGERS
                                       APPOINTED ACN 093 330 977

 Third Plaintiff                       QUINTIS FORESTRY LIMITED SUBJECT TO DEED OF
                                       COMPANY ARRANGEMENT RECEIVERS AND MANAGERS
                                       APPOINTED ACN 080 139 966

 Fourth Plaintiff                      QUINTIS LEASING PTY LTD SUBJECT TO DEED OF
                                       COMPANY ARRANGEMENT RECEIVERS AND MANAGERS
                                       APPOINTED ACN 080 978 721

 Fifth Plaintiff                       ARWON FINANCE PTY LTD SUBJECT TO DEED OF
                                       COMPANY ARRANGEMENT RECEIVERS AND MANAGERS
                                       APPOINTED ACN 072 486 643

 Sixth Plaintiff                       MT ROMANCE HOLDINGS PTY LTD SUBJECT TO DEED OF
                                       COMPANY ARRANGEMENT) (RECEIVERS AND
                                       MANAGERS APPOINTED ACN 115 659 606

 Seventh Plaintiff                     MT ROMANCE AUSTRALIA PTY LTD SUBJECT TO DEED
                                       OF COMPANY ARRANGEMENT) (RECEIVERS AND
                                       MANAGERS APPOINTED ACN 060 122 698

 Eighth Plaintiff                      AUSTRALIAN SANDALWOOD OIL CO. PTY LTD SUBJECT
                                       TO DEED OF COMPANY ARRANGEMENT RECEIVERS AND
                                       MANAGERS APPOINTED ACN 088 257 498




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